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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

                               Plaintiff,            :       Case No. 3:07-cr-062
                                                             Civil Case No. 3:13-cv-323

                                                             District Judge Walter Herbert Rice
       -   vs   -                                            Magistrate Judge Michael R. Merz

DEXTER McCAIN,

                               Defendant.            :



                      REPORT AND RECOMMENDATIONS


       This is an action under 28 U.S.C. § 2255 in which Defendant Dexter McCain complains

in several regards of ineffective assistance of trial counsel provided by Assistant Federal

PublicDefender Thomas Anderson. As with all post-judgment collateral attacks on criminal

judgments filed at Dayton, it has been referred to the undersigned.

       The § 2255 Motion is before the Court for initial review pursuant to Rule 4(b) of the

Rules Governing ' 2255 Cases which provides:

                The judge who receives the motion must promptly examine it. If it
                plainly appears from the motion, any attached exhibits, and the
                record of prior proceedings that the moving party is not entitled to
                relief, the judge must dismiss the motion and direct the clerk to
                notify the moving party. If the motion is not dismissed, the judge
                must order the United States to file an answer, motion, or other
                response within a fixed time, or take other action the judge may
                order.

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       28 U.S.C. § 2255(f) provides:

               A 1-year period of limitation shall apply to a motion under this
               section. The limitation period shall run from the latest of —

               (A) the date on which the judgment of conviction becomes final;

               (B) the date on which the impediment to making a motion created
                   by governmental action in violation of the Constitution or laws
                   of the United States is removed, if the defendant was prevented
                   from making a motion by such governmental action;

               (C) the date on which the right asserted was initially recognized by
                   the Supreme Court, if that right has been newly recognized by
                   the Supreme Court and made retroactively applicable to cases
                   on collateral review; or

               (D) the date on which the facts supporting the claim or claims
                   presented could have been discovered through the exercise of
                   due diligence.


       Upon examination of the docket in this case, the Magistrate Judge finds that McCain was

sentenced, pursuant to Plea Agreement and Presentence Investigation Report, on February 27,

2008 (Doc. No. 53). His judgment of conviction therefore became final March 13, 2008, the last

date on which he could have filed an appeal to the Sixth Circuit. McCain’s § 2255 Motion was

not filed until September 18, 2013, five and one-half years later. In the timeliness section of the

Motion, he attempts to excuse his delay by saying Mr. Anderson promised to file an appeal on

his behalf and he only found out that Anderson did not do so when he received a letter from the

Sixth Circuit saying that no appeal had been filed (Doc. No. 59). McCain’s inquiry to that court

was answered the same day it was received, January 9, 2013, nearly five years after the judgment




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of conviction became final. Waiting five years to find out whether or not an appeal has been

filed simply does not show due diligence.

       It is therefore respectfully recommended that McCain’s § 2255 Motion be dismissed with

prejudice as time-barred. Because reasonable jurists would not disagree with this conclusion,

Petitioner should be denied a certificate of appealability and the Court should certify to the Sixth

Circuit that any appeal would be objectively frivolous.

September 24, 2013.

                                                                s/ Michael R. Merz
                                                               United States Magistrate Judge




                            NOTICE REGARDING OBJECTIONS

Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
proposed findings and recommendations within fourteen days after being served with this Report
and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period is extended to seventeen
days because this Report is being served by one of the methods of service listed in Fed. R. Civ.
P. 5(b)(2)(C), (D), (E), or (F). Such objections shall specify the portions of the Report objected
to and shall be accompanied by a memorandum of law in support of the objections. If the Report
and Recommendations are based in whole or in part upon matters occurring of record at an oral
hearing, the objecting party shall promptly arrange for the transcription of the record, or such
portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the
assigned District Judge otherwise directs. A party may respond to another party=s objections
within fourteen days after being served with a copy thereof. Failure to make objections in
accordance with this procedure may forfeit rights on appeal. See United States v. Walters, 638
F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985).




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